Case 1:21-cv-00100-LEK-WRP Document 171 Filed 10/14/22 Page 1 of 3       PageID.2616



                                                                          ),/(',17+(
                                                                 81,7('67$7(6',675,&7&2857
                                                                      ',675,&72)+$:$,,

                                                                          Oct 14, 2022
                                                                     +PIO".BOOMF%NGTMQH%QWTV
Case 1:21-cv-00100-LEK-WRP Document 171 Filed 10/14/22 Page 2 of 3   PageID.2617
Case 1:21-cv-00100-LEK-WRP Document 171 Filed 10/14/22 Page 3 of 3   PageID.2618




                                                2FWREHU
                                              ;;;;;;;;;;;;;;;;;;;
                                              xxxxxxxxxxxxxxxx
                                              ;;;;;;;;;;;;;;;;;;;
